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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

                               CASE NO.: 6:20-cv-00836-PGB-EJK

   SURGERY CENTER OF VIERA, LLC,

          Plaintiff,

   v.

   UNITEDHEALTHCARE INSURANCE COMPANY,

         Defendant.
   ______________________________________________ /

          PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS

          Plaintiff, Surgery Center of Viera, LLC (“SCV”), by and through undersigned

   counsel and pursuant to local and federal rules, responds in opposition to the Motion to Dismiss

   Plaintiff’s Complaint (“M2D”) filed by Defendant, UnitedHealthcare Insurance Company

   (“UHC”), on July 1, 2020 [D.E. 19], as follows:

                                         INTRODUCTION

          Per the Complaint [D.E. 1], this action arises, in part (Counts III-VI), out of

   Defendant’s incorrect and unreasonably low payment rate relating to compensation owed to

   the medical provider (SCV) for medical services it provided to the patient / insured (J.R.F.).

   This action also arises, in part (Counts I-II), out of Defendant’s record production failures.

          The M2D is legally and factually (although the merits should not be adjudicated at this

   early dismissal stage) untenable. As discussed in detail below: (1) This is a pure “rate of

   payment” (i.e., amount of compensation) dispute rather than a “right of payment” (i.e.,

   coverage) dispute. ERISA does not govern the causes of action pertaining to the outstanding


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   medical service monies owed (Counts III-VI) or the breach of contract action pertaining to

   outstanding germane records (Count II). The only aspect of this suit governed by ERISA is the

   administrative claim (Count I). The “rate of payment” versus “right of payment” distinction is

   the correct analysis and SCV’s state law claims (Counts II-VI) are not preempted by ERISA

   completely, defensively, or otherwise.1 In the “rate of payment” context, a variety of courts

   (Judges in this Court, Judges in the Southern District of Florida Court, and Judges from across

   the nation) have properly determined that for a dispute to be defensively preempted by ERISA,

   a mere “relation to” an ERISA plan does not cut it; i.e., there must have to be a deep-dive into

   the plan document / insurance policy needed to resolve a dispute in order for defensive

   preemption to apply. And in most cases (including within this Court), most Judges have found

   that such a deep-dive is simply not required in order to resolve a simple pricing dispute of the


   1
     This has been the law in Florida (state and federal) for quite some time, and confirmed yet again by a very recent
   Order from this Court (Judge Conway), by a very recent Report and Recommendation in the Tampa Division of
   this Court (Magistrate Judge Porcelli), by a very recent Order issued by this Court (Judge Berger) involving UHC,
   by a Report and Recommendation issued by this Court (Magistrate Judge Hoffman) that resulted in Order issued
   by this Court (Judge Byron), and by another recent Order issued by this Court (Judge Conway) involving UHC,
   all of which such cases involved undersigned counsel. See Surgery Center of Viera, LLC v. Cigna Health and
   Life Ins. Co., et al., No. 6:19-cv-02110-ACC-DCI (M.D. Fla. Feb. 11, 2020) [D.E. 26] (expressly finding that
   SCV’s claims do not implicate an ERISA plan and are not preempted by ERISA); ISD Trenton, LLC v.
   Continental Benefits, et al., No. 8:19-cv-00825-JSM-AEP (M.D. Fla. Jan. 23, 2020) [D.E. 39] (expressly finding
   that the medical provider’s claims constituted a “rate of payment” dispute not preempted by ERISA because the
   provider’s allegations concerned a “gross underpayment” for the services rendered, as opposed to a complete
   failure by the Defendants to pay at all); Surgery Center of Viera, LLC v. UnitedHealthcare, Inc., et al., No. 6:19-
   cv-00926-WWB-DCI (M.D. Fla. Mar. 18, 2020) [D.E. 40] (denying the motion to dismiss, which such motion to
   dismiss was focused largely on ERISA preemption); Surgery Center of Viera, LLC v. Meritain Health, Inc., et
   al., No. 6:19-cv-1694-Orl-40LRH (M.D. Fla. June 1, 2020) [D.E. 22] and [D.E. 23] (denying the motion dismiss
   in all respects, other than with respect to Count I akin to Count I of the Complaint [D.E. 1] in this matter); Surgery
   Center of Viera, LLC v. UnitedHealthcare, No. 6:20-cv-00024-ACC-EJK (M.D. Fla. June 8, 2020) (denying all
   aspects of the motion to dismiss other than what would be Counts I and VI of the subject Complaint). These
   Orders and Reports and Recommendations are attached hereto as composite Exhibit 1 and fully incorporated
   herein by reference. Judge Dalton has very recently taken stock (although permitting complaint amendment, still
   pending) in defensive preemption chatter, but the bulk of other Judges (including Judge Byron in his endorsement
   of Magistrate Judge Hoffman’s Report and Recommendation, as mentioned above) within this jurisdiction have
   not. The bulk of Judges in this jurisdiction have found that ERISA preemption (complete, defensive, or otherwise)
   does not apply to pure rate of payment disputes such as the instant dispute, and, in all the decisions making up
   Exhibit 1, the involved Judges were faced with complete and defensive preemption arguments.



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   kind SCV brings, especially where (as here) the disputed pricing is based on any number of

   other non-plan contracts / formulas employed by the parties. (2) UHC is subject to

   administrative record production and penalties (Count I). As discussed in greater detail below,

   as it pertains to Count I, the particulars of this case square best with the particulars of the case

   involving Judge Berger’s order (also involving UHC) as to Count I of that case, which such

   order did not dismiss a similar Count I. UHC failed to respond to Plaintiff’s request for the

   administrative records (Count I) and other contractually owed germane records (Count II), not

   even producing the insurance policy pre-suit that UHC attaches to the M2D and now tries to

   ex post facto wield against SCV, especially as it pertains to the UHC failure to exhaust

   administrative remedies argument cast in the M2D. Finally in this vein, there is Defendant’s

   odd argument that SCV requested some document called an “administrative record” and that

   ERISA does not identify an instrument called an “administrative record” amongst documents

   that have to be timely produced pursuant to United States Code and / or Code of Federal

   Regulations. As discussed below (and as made clear in Complaint averments, see, e.g., [D.E.

   1] at ¶ 16), SCV did not request a document called an “administrative record;” rather, SCV

   requested specific documents within the administrative record (sometimes called the claim

   file), some of which Defendant was required to produce under ERISA, see, e.g., [D.E. 1 at n.

   6] (hence, Count I), and all of which Defendant was required to produce under the insurance

   contract (see, e.g., [D.E. 1] at n. 6) (hence, Count II). (3) There was anything but a failure to

   exhaust administrative remedies, this M2D argument is the epitome of misrepresentative

   grasping at straws. As stated in the Complaint, SCV filed both first and second level appeals

   to UHC. See, e.g., [D.E. 1] at ¶¶ 14-15 and 19-21. Defendant did not deviate from its lowball



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   claim payment decision on any level of appeal, at all times maintaining the position that the

   subject claim was paid out properly. And as for any M2D chatter regarding SCV’s second level

   of appeal being untimely (because the insurance policy attached to the M2D, which, again,

   SCV saw for the first time in relation to the M2D, supposedly says the second level appeal had

   to be carried out within sixty days) is of no moment (especially, for example, under equitable

   principles such as estoppel and waiver) because SCV could not have known that this particular

   insurance policy prescribed sixty days for second level appeal rather than a typical 180 days

   because, once more, Defendant would not give the insurance policy to SCV pre-suit. Following

   SCV’s exhaustion of policy / plan prescribed dispute resolution measures (appeals), this

   lawsuit was SCV’s regrettable last resort. Defendant’s argument that SCV’s allegations as to

   exhaustion of pre-suit measures are somehow generic is unavailing – as discussed below, there

   is nothing more to be alleged in this regard other than that SCV carried out the pre-suit appeal

   process and that such exhausted pre-suit administrative measures, which the Complaint alleges.

   See, e.g., [D.E. 1] at ¶¶ 14-15, 19-21, 24. (4) The Complaint’s breach of contract causes of

   action (Counts II and III) are sufficiently pleaded (as this Court has recently determined in

   conjunction with identical pleading structure and style in other of these kinds of cases, see n.

   1, supra, and Ex. 1 attached hereto). As this Court has determined in other SCV cases (again,

   see Ex. 1), the Complaint alleges sufficient facts as it relates to the existence of the subject

   contracts (the insurance contract and, perhaps more importantly, the PMCS re-pricing contract

   for which UHC is identified as a payor client, attached as Exhibit A the Complaint), see, e.g.,




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   [D.E. 1] at ¶¶ 10-11 and 22,2 Defendant’s partial performance under the subject contracts (i.e.,

   underpayment of billed charges) in concession of both coverage and the existence and

   effectiveness of the subject contracts, see, e.g., id. at ¶¶ 12 and 22, Defendant’s breaches of the

   subject contracts (in particularly the PMCS contract that stands alone from the plan document

   / insurance policy attached to the M2D) via, for examples, (a) its lowball payment rate, see,

   e.g., id. and Count III, (b) what aspects of the insurance contract and / or, perhaps more

   importantly, non-plan re-pricing contract were breached as to monies owed, see, e.g., id. at ¶¶

   10-11, 22 and Count III, and (c) what aspects of the insurance contract were breached as to

   records owed, see, e.g., id. at n. 6 and Count II. (5) As it relates to Counts IV and V (unjust

   enrichment and quantum meruit, respectively), SCV’s services to the insured / patient certainly

   conferred a benefit on Defendant and these counts are otherwise viable and properly pleaded

   (again, just as this Court has recently determined in relation to identical pleading structure and

   style in other of these kinds of cases, including cases involving UHC and its same benefit

   conferral arguments made here, see n. 1, supra, and Ex. 1 attached hereto). (6) SCV’s Section

   627.64194 cause of action (Count VI) states a claim and the M2D misinterprets the statute.

                                         MEMORANDUM OF LAW

   A.       Legal Standard

            In assessing Rule 12 motions to dismiss, courts are to “accept the allegations in the

   Complaint as true, construing them in a light most favorable to the plaintiff. … Motions to


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     The M2D makes a big deal about the PMCS contract attached to the Complaint only being the part of that
   contract pertaining to PMCS and SCV, listing UHC as a PMCS client subject to the PMCS agreement. Only
   discovery will reveal UHC’s other contracts with PMCS (or any other mystery third-party re-pricer it unilaterally
   employed in lowballing SCV, like Optum per one of the EOBs attached as Exhibit B to the M2D) because, again,
   UHC failed to provide such documentation (which is documentation under which the plan is operated) to SCV.



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   dismiss are only granted ‘when the movant demonstrates beyond doubt that plaintiff can prove

   no set of facts in support of his claim which would entitle him to relief.’” Young v. Fleming,

   146 Fed.Appx. 393, 394-395 (11th Cir. 2005) (internal citations omitted); Meeks v. Murphy

   Auto Group, Inc., No. 8:09-cv-1050-T-TBM, 2009 WL 3669638 at *3 (M.D. Fla. Oct. 30,

   2009) (motion to dismiss “tests the legal sufficiency of a Complaint”); Asa Accugrade, Inc. v.

   Am. Numismatic Ass’n, No. 6:05-cv-1285-Orl-19DAB, 2006 WL 1640698 at *5 (M.D. Fla.

   June 9, 2006) (trial court “is … limited to examining the four corners of the Complaint” in

   assessing defendant’s “very high burden” (internal citations omitted)). See also Bell Atlantic

   Corp. v. Twombly, 550 U.S. 544, 555-556 (2007) (internal citations omitted); Ashcroft v. Iqbal,

   556 U.S. 662, 678 (2009). SCV should not be sanctioned by dismissal.

   B.         Clearing Up M2D Misstatements

              The M2D contains a fair bit of inaccurate statements:3

       UHC MISSTATEMENT                               REALITY
       “Plaintiff is non-participating or out         UHC agreed with SCV on a fee / pricing structure
       of network meaning that Plaintiff and          developed by PMCS. See, e.g., [D.E. 1] at ¶¶ 10-
       United have not agreed to any terms            11, 22.
       or conditions including, but not
       limited to, rates for any medical
       services provided by Plaintiff… .”
       [D.E. 19] at 1.
       “Plaintiff’s allegation that the PMCS          The Complaint makes no such allegation; rather,
       contract required payment of 80% of            the Complaint makes clear that the 80% PMCS
       billed charges is also misleading. …           rate is subject to deduction of patient
       Based on this mischaracterization,             responsibilities (e.g., co-pay, deductible, et
       Plaintiff seeks from United (who is            cetera). See, e.g., [D.E. 1] at ¶ 11, 22. And the
       not a party to the PMCS contract) the          amount of money SCV seeks, see, e.g., id. at ¶ 22,
       difference between what it was paid            is not flawed. As Paragraph 22 of the Complaint
       and 80% of its billed charges.” [D.E.          makes clear, the PMCS re-priced amount is subject
       19] at 2.                                      to deduction of patient responsibilities. But, as

   3
       In this table, we do not rebut Defendant’s myriad legal misstatements. Other areas of this response do so.



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                                           Paragraph 22 of the Complaint also makes clear, if
                                           UHC’s claim processing was done in a routine
                                           fashion, then Defendant’s partial payment already
                                           accounted for deduction of patient responsibilities.
    “Plaintiff generically alleges that is There is nothing generic about Paragraphs 14-15,
    ‘exhausted the pre-suit appeal 19-21, 24 of the Complaint, which establish that
    process to the best of its ability.” SCV put forth two appeal packages in a timely
    [D.E. 19] at 4 (emphasis omitted).     fashion (“timely,” because, again, there was no
                                           way for SCV to know about an unusual sixty day
                                           second level appeal requirement sans the germane
                                           documentation, namely the insurance policy, that
                                           were requested of UHC pre-suit and not provided)
                                           and those Complaint averments cite Defendant’s
                                           wayward appeals decisions. There is just nothing
                                           more to say other than stating that SCV’s two pre-
                                           suit appeals satisfied pre-suit administrative
                                           requirements on SCV’s end. Moreover, even if the
                                           Court takes stock in the sixty day bit pertaining to
                                           the second level appeal (i.e., wields the insurance
                                           policy attached to the M2D against SCV despite
                                           SCV’s having never seen same prior to the M2D),
                                           the language of the insurance policy attached to the
                                           M2D makes clear that the second level appeal was
                                           voluntary anyway. All throughout the insurance
                                           policy attached to the M2D, the policy says there
                                           is a “right” to put forth a second appeal, not that
                                           one must put forth a second appeal.

   C.     Plaintiff’s Record Production Claim (Count I) Does Not Fail

          The M2D attacks Count I via the following misguided arguments: (1) civil penalties do

   not apply to the “administrative record,” and (2) SCV lacks standing to bring Count I.

          Defendant first argues that Title 29, United States Code, Section 1132(c)(1) does not

   apply to the entirety of the “administrative record” requested by SCV. Defendant recognizes

   that a plan administrator is liable for civil penalties under the aforementioned statute when it

   fails or refuses to provide the documents listed under Title 29, United States Code, Section




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   1024. In purported support, Defendant relies on Giertz-Richardson v. Hartford Life & Accident

   Ins. Co., No. 8:06-cv-1874-T-24MAP, 2007 WL 1099094, at *4 (M.D. Fla. Apr. 10, 2007):

            Section 1132(c) does not authorize penalties in connection with any and all types
            of information requested by the participant; rather, it refers specifically to a plan
            administrator’s ‘failure or refusal to provide the documents identified in Section
            1024 [of ERISA], namely the latest updated summary plan description, and the
            latest annual report, any terminal report, the bargaining agreement, trust
            agreement, contract, or other instruments under which the plan is established or
            operated.’

   Defendant argues that the entirety of the documents sought by SCV in pre-suit correspondence

   is classified as documents falling under Title 29, Code of Federal Regulations, 2560.503-

   1(h)(2), which requires that a claimant be provided “upon request and free of charge,

   reasonable access to, and copies of, all documents, records, and other information relevant to

   the claimant’s claim for benefits.” Defendant glosses over the fact that it failed to respond in

   any fashion to SCV’s January 12, 2018, documentation / information letter request.

              SCV did not request some instrument called an “administrative record.” Rather, SCV

   requested specific germane documentation / information often housed (in whole or in part) in

   the carrier’s claim / appeals file; i.e., administrative record. See [D.E. 1] at ¶ 16. SCV’s January

   12, 2018, letter specifically requested the insurance policy, along with a number of other

   documents relevant to the claim and appeals decisions, subject to production either under the

   Federal Codes cited in Count I or under the insurance contract. 4 See [D.E. 1] at ¶ 16. The

   Complaint alleges a total failure by Defendant to respond to SCV’s data request.

              Defendant attempts to evade civil penalties by oddly distinguishing SCV’s request as

   being one for the “administrative record” fails because, under the law, Defendant is subject to


   4
       See [D.E. 1], n. 6 and also the language cited below from Exhibit A of the M2D.



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   penalty for not providing, for example, several (if not all) of the specific documents

   enumerated in SCV’s January 12, 2018, letter. For example, it cannot reasonably be disputed

   that Defendant was obligated under ERISA to produce a certified or authenticated copy of the

   subject insurance policy. See [D.E. 1] at ¶ 16 (Request No. 1). Defendant did not do so. As

   another example, it cannot reasonably be disputed that Defendant was obligated under ERISA

   to produce the materials upon which it formulated the disputed rate of payment. See id.

   (Request Nos. 14-15). Defendant did not do so. And then there is ERISA’s catch-all “other

   instruments under which the plan is established or operated” language, which such catch-all

   could be reasonably interpreted to capture a variety of other documents requested in SCV’s

   January 12, 2018, letter. As a result, SCV has made a valid claim for penalty and production.5

           Next, the M2D argues that SCV does not have standing to pursue Count I. That is false.

   While an assignment of benefits by itself may not allow for pursuit of administrative records

   and / or penalty, the patient’s conveyance of those rights to the provider can be effectuated

   through things like authorization, as recognized by, for example, Judge Berger’s decision. See

   Ex. 1 (Judge Berger’s March 18, 2020, Order at 3-4). And SCV alleges authorization in

   addition to assignment. SCV’s allegations at the dismissal stage are to be taken as true, not

   only because they are true but also because that is the legal standard (see Section A, supra).

           A complaint is not supposed to be an evidence dump, as the M2D oddly suggests by

   stating that SCV should have attached assignment and authorization paperwork. The

   Complaint properly alleges that SCV possesses authorization and assignment. Moreover, the


   5
     Again, while ERISA-prescribed production requirements and penalties would arguably only apply to some of
   the data requested in SCV’s January 12, 2018, letter (hence, Count I), the insurance contract would require
   production of all the data requested in SCV’s letter (hence, Count II).



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    HCFA form that was part of the claim mailing packet noted in the Complaint checked the

    appropriate assignment of benefits box. Moreover, Defendant recognized / consented to SCV’s

    standing by remitting partial payment directly to SCV, which is also alleged in the Complaint.

    But if SCV’s allegations are not to be taken as true (in contravention of the legal standard set

    forth above), we attach hereto as Exhibit 2 the assignment / authorization that does not just

    convey owed insurance benefits to SCV, but also conveys all rights to SCV (such as requesting

    and obtaining germane documentation and bringing suit).

           First, any insurance contract (attached to the M2D for the first time) prohibition as to

    authorization or assignment should not be wielded against SCV (under at least ordinary

    principles of estoppel or waiver) because Defendant did not properly produce same to SCV

    pre-suit. Second, in the vein of waiver (at the very least), as mentioned above, Defendant

    tendered partial payment directly to SCV, thereby constituting UHC’s consent to assignment.

    Third, assuming arguendo we were to ex post facto consider the insurance policy attached to

    the M2D, the insurance policy says that assignment of benefits can occur with UHC’s consent

    or discretion. See [D.E. 19], Ex. A at 49. Critically, the insurance policy says that if an

    assignment is not obtained, payment will be sent directly to the patient. See id. Because there

    was a consented to assignment in place here, Defendant, as alleged in the Complaint, tendered

    partial payment directly to SCV. Rather (and moreover), the insurance policy expressly says

    that authorized representation is acceptable in pursuit of owed medical service monies, see id.

    at III, and we see nowhere in the insurance policy where such authorized representative

    capacity is somehow curbed. And, as it pertains to production of germane documentation, the

    insurance policy makes clear that that responsibility belonged to UHC. See [D.E. 1] at n. 6;



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    [D.E. 19], Ex. A at 51 (“Upon request and free of charge, you have the right to reasonable

    access to and copies of all documents, records and other information relevant to your claim for

    Benefits …” with “we” being defined as UHC). Fourth, the bulk of the Complaint (Counts II-

    VI) is properly pleaded under state law and a purported anti-assignment clause meant to pertain

    to ERISA actions cannot give way to Florida state law. It has long been Florida law that it is

    perfectly acceptable to assign insurance policy benefits, but not insurance policies themselves.

    See, e.g., Fla. Stat. § 627.638 (making abundantly clear, in particularly Subsection 2, that health

    insurance companies must honor assignments of benefits and insurance policies cannot

    prescribe otherwise). Meaning, any ERISA-oriented case law that purports to slam the door

    shut on assignment in draconian fashion (and hostile doctor-patient fashion) simply does not

    apply here, at the very least with respect to Counts II-VI pleaded by SCV under state law.

           Accordingly, as to Count I, this is a situation most akin to Count I of the complaint at

    issue in Judge Berger’s order (see Exhibit 1), which such order allowed Count I to stand.

    D.     Plaintiff’s State Law Claims Are Not Preempted by ERISA

           The M2D advances an incorrect ERISA preemption analysis. To save a great deal of

    time for all involved, we point the Court to the very recent rulings making up Exhibit 1 and

    fully incorporate same herein by reference. All rulings from this Court making up Exhibit 1

    correctly recognized that a “rate of payment” dispute is not governed by ERISA, and all such

    rulings were made in contexts wherein the defendants had raised both complete and defensive

    preemption arguments. See also, e.g., Reva, Inc. v. Healthkeepers, Inc., et al., No. 17-24158-

    CIV-MORENO, 2018 WL 3323817 (S.D. Fla. Jul. 6, 2018); Emergency Services of

    Zephyrhills, P.A., et al. v. Coventry Health Care of Florida, Inc., 281 F. Supp. 3d. 1339 (S.D.



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    Fla. 2017); Premier Inpatient Partners LLC v. Aetna Health & Life Ins. Co., No. 8:18-CV-

    621-T-35AAS, 2019 WL 1499176 (M.D. Fla. Mar. 29, 2019); Gulf-To-Bay Anesthesiology

    Assocs., LLC v. UnitedHealthcare of Florida, Inc., No. 8:18-cv-233-EAK-AAS, 2018 WL

    3640405 (M.D. Fla. Jul. 20, 2018); Sarasota Anesthesiologists, P.A. v. Blue Cross and Blue

    Shield of Florida, Inc., No. 19-cv-1518-T-02JSS, 2019 WL 3683796 (M.D. Fla. Aug. 6, 2019).

           As the Complaint makes clear, this dispute (at least Counts III-VI) revolves entirely

    around the amount of compensation Defendant afforded to SCV in relation to medical services

    provided by SCV to the patient / insured. Again, the large “rate of payment” gap between the

    amount billed by SCV and the amount paid by Defendant is not the result of any coverage

    denial by Defendant (like in Borrero, which such Eleventh Circuit case made clear that

    preemption occurs on medical necessity oriented coverage grounds, which is not the case here).

    This much is admitted by Defendant via its partial claim payment and its EOBs not asserting

    any medical judgment bases (i.e., “right of payment” bases) for the claim decision. It is also

    conceded by the M2D, as such advances no substantive arguments relating to coverage / “right

    of payment;” e.g., medically unnecessary, experimental / investigational. “No substantive”

    because all the M2D nakedly states is that some of the HCFA line-items were flat denied. But

    a proper examination of the EOB claim decision codes (Ex. B of [D.E.19]) makes clear that

    any $0.00 pay HCFA line-items had nothing to do with coverage; rather, such had to do with

    things like fee schedules, application of patient responsibilities, re-pricing performed by third-

    party repricing vendor Optum (owned by UHC). Defendant has refused to substantiate the rate

    of payment lowballing ($48,257.58 paid versus $396,597.00 billed) notwithstanding its having

    been asked for such explanation / justification / proof pre-suit due to the acute germaneness of



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    same. And, yet, Defendant somehow has the audacity to mischaracterize (in inflammatory

    fashion) SCV as “prolific.” See [D.E. 19] at 15.6

            It is around the $48,257.58 (paid) versus $396,597.00 (billed) lowballing that Counts

    III-VI revolve. As discussed above, “rate of payment” disputes are not governed by ERISA in

    the Eleventh Circuit. As this Court has recently confirmed (again, including in at least two

    cases involving UHC, see Ex. 1), Defendant’s arguments concerning defensive versus

    complete ERISA preemption do not influence or control the rate of payment ERISA exemption

    or the fact that this case concerns a rate of payment dispute. See, e.g., Ex. 1 (in particularly

    Judge Conway’s February 11, 2020, Order); Gulf-To-Bay Anesthesiology Assocs., LLC, 2018

    WL 3640405, *3 (this Court found defendant complete and defensive ERISA preemption

    arguments unavailing where, as here, “the gist of GTB’s complaint is that it was not fully

    compensated for those services pursuant to Florida law,” emphasis in original); Gables Ins.

    Recovery, Inc. v. United Healthcare Ins. Co., No. 13-21137-CIV-KING, 2013 WL 12141255,

    *1-2 (S.D. Fla. May 22, 2013) (finding defendant defensive and complete ERISA preemption

    arguments unavailing where, as here, “Plaintiff explicitly alleges that this lawsuit is about

    Defendants failure to pay for medical services … . Plaintiff’s claims are about ‘rate of payment’

    and not the ‘right of payment.’ Only ‘right of payment’ disputes are subject to … preemption,”

    internal citations omitted). And it not just the majority of Judges in this Court, a plethora of

    other courts in other jurisdictions have found a rate dispute of this nature must go deeper than




    6
     If UHC (or any other insurance company) wishes for SCV to not be “prolific,” it could stop with its perpetual
    bad faith claim payment lowballing. “Prolific,” in this sense, is the pot calling the kettle black.



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    merely “relating to” (a phrase repeatedly utilized in the M2D) an ERISA plan (heck, there is

    an ERISA plan underlying practically all, if not all, of these kinds of disputes).7

             As it stands, the Complaint is well-pleaded in line with what this very Court (see, e.g.,

    Ex. 1 and Gulf-To-Bay) has already accepted – the Complaint sets forth counts around an

    express agreement (Counts II and III) and counts around implied-in-fact agreement and failure

    to reimburse fair value (Counts IV-V) and a statutory count (Count VI). Put in the Gulf-To-


    7
     The M2D states in myriad places that SCV’s claims “relate to” an ERISA plan as such are claims for ERISA
    plan benefits. Relation to an ERISA plan or plan benefits is not enough and misses the point altogether, however,
    as several of the above-cited Florida federal court cases make clear including the decisions making up Exhibit 1.
    And such reality is also recognized by non-Florida federal courts. For example, in Lone Star, the Fifth Circuit
    Court held, in pertinent part, as follows:
           Davila was thus concerned with the situation where ‘potential liability ... derives entirely from the
           particular rights and obligations established by the benefit plans,’ i.e., coverage and benefit
           determinations. Id. Where, however, a medical service is determined to be covered and the only
           remaining issue is the proper contractual rate of payment, coverage and benefit determinations are
           not implicated and the claims are not preempted
    Lone Star OB/GYN Assocs. v. Aetna Health, Inc., 579 F.3d 525, 532 (5th Cir. 2009). See also Kelsey-Seybold
    Med. Grp. v. Great-West Healthcare of Texas, Inc., 611 Fed.Appx. 841, 841-842 (5th Cir. 2015). The Fifth Circuit
    Court followed that germane holding in Lone Star with this germane holding: “Davila also does not support the
    proposition that mere reference to or consultation of an ERISA plan in order to determine a rate of pay is sufficient
    for preemption.” Id. As the Kelsey-Seybold court also held in relation to a carrier’s “but this involves a claim for
    ERISA plan benefits” contention:
           but that fact is irrelevant; the question is not whether plaintiff’s claims relate to benefits under
           ERISA plans, but rather whether adjudication of those claims requires an interpretation of an
           ERISA plan. Great–West has not shown that any of Kelsey’s claims concern ‘the right to payment
           under the terms of the benefit plan,’ as opposed to ‘the rate of payment as set out’ in the parties’
           contractual agreement. Lone Star, 579 F.3d at 533. Thus, Great–West has not satisfied its burden
           to establish federal jurisdiction.
    Id. at 841. See also Plastic Surgery Ctr. v. Aetna Life Ins. Co., No. 18-3381, 2020 WL 4033125 (3d Cir. Jul. 17,
    2020) (noting that a mere “relation to” an ERISA plan misses the point, and also noting that the Third Circuit’s
    decision squares with most other jurisdictions, including the Eleventh Circuit Court. In this Third Circuit case, a
    separate provider / carrier payment agreement was at issue and underpayment was claimed by the provider, just
    as here via the likes of the PMCS re-pricing contract highlighted by SCV in the Complaint or the mystery Optum
    re-pricing contract that is noted at the end one of the EOBs attached as Exhibit B to the M2D, and via SCV’s pure
    underpayment allegations. In sum, here, hardly any reference to the ERISA plan (that is supposedly represented
    by Exhibit A of the M2D) will need to occur in order to determine what re-pricing contract / formula should apply
    because all such re-pricing contracts / formulas at play in the instant case (on either side of the versus sign) are
    separate from the ERISA plan document itself. Back to this Third Circuit case for a moment. This Third Circuit
    case makes a great point that ERISA was not designed by Congress to protect medical providers and that ERISA
    preemption cannot be said to apply to a party not “protected” by ERISA, as such would leave the medical provider
    community in an unpalatable conundrum to just sue patients and comprise the doctor-patient relationship.



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    Bay Court’s language, “the gist of [SCV’s] complaint is that it was not fully compensated for

    th[e] services [provided to the patient] pursuant to Florida law,” meaning no ERISA

    preemption (defensive or complete).

    E.       The Complaint Sufficiently Alleges Exhaustion Of Administrative Remedies

             For the reasons discussed above, Plaintiff’s state law claims (Counts II-VI) are not and

    should not be construed as claims governed / preempted by ERISA. Again, the only claim in

    the Complaint subject to ERISA (i.e., requiring a true “relation to” the ERISA plan document

    itself) is the administrative penalty claim (Count I). In making the failure to exhaust argument,

    the M2D is necessarily wrongly classifying all of Plaintiff’s claims as claims governed by

    ERISA. This argument by Defendant fails for the reasons stated above, namely the “rate of

    payment” exception to ERISA preemption.

             Nevertheless, SCV alleges sufficient facts, all of which must be accepted as true at this

    stage, showing that it exhausted administrative remedies and appeals. See, e.g., [D.E. 1] at ¶¶

    14-15, 19-21, 24.8 And Defendant cannot possibly be allowed to get away with a 60-day second

    level appeal limit prescribed by an insurance policy that Defendant secreted from SCV until

    attaching such to the M2D – such would be the epitome of sandbagging and / or anti-justice.

    F.       Counts II-V Do Not Fail To State A Claim

             Defendant argues that Plaintiff’s contract causes of action (Counts II-III) fail to state a

    claim because of Defendant’s purported lack of privity – not so, as succinctly stated in the



    8
      Plaintiff’s reference to its exhaustion of the pre-suit appeal process “to the best of its ability,” [D.E. 1] at ¶ 24,
    is simply a statement that, due to Defendant’s failure to provide any administrative records and / or plan
    documents, it was unaware of anything further that could be done and that the pre-suit measures it undertook were
    handicapped by Defendant’s legally and contractually repugnant evidentiary shell game.



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    above “Introduction” section and as determined by this Court in the rulings making up Exhibit

    1. Defendant further argues that Plaintiff’s unjust enrichment cause of action (Count IV) and

    quantum meruit cause of action (Count V) fail to state claims because of a purported lack of

    conferral of benefit. To save a great deal of time, SCV incorporates fully herein by reference

    Exhibit 1. Judge Conway, Magistrate Judge Porcelli, Judge Berger, Magistrate Judge Hoffman,

    and Judge Byron have all determined quite recently that identically pleaded causes of action

    in other matters involving SCV and undersigned counsel are not dismissible – Counts IV-V

    are adequately pleaded as this Court has very recently confirmed (see Exhibit 1).

            And the conferral of benefit debate is premature anyway. See, e.g., Ex. 1; Nordt v.

    Colina Ins. Ltd., No. 17-21226-CIV-ALTONAGA-Goodman, 2017 WL 4225550, *7 (S.D.

    Fla. Sept. 22, 2017); see also, e.g., Baycare Health System, Inc. v. Medical Savings Ins. Co.,

    No. 8:07-cv-1222-T-27TGW, 2008 WL 792061, *9 (M.D. Fla. Mar. 25, 2008) (citing, inter

    alia, Naples Comm. Hosp., Inc. et al. v. Medical Savings Ins. Co., 2:04-CV-280-FTM-29SPC

    (M.D. Fla. Jul. 30, 2004) and Lee Memorial Health System v. Medical Savings Ins. Co., 2:04-

    CV-445-FTM-33DNE (M.D. Fla. Sept. 20, 2005)).

            As to the quantum meruit cause of action, in Baycare, this Court held that “a contract

    implied-in-fact is also stated when the Defendant knew that services were being rendered and

    both sides intended for compensation to be paid.” Id. at *8 (internal citation omitted). This

    Baycare Court further determined that formation of an implied-in-fact contract does not require

    the Defendant to be the recipient of the services or to request the services. Id. (internal citations

    omitted). The Baycare Court also determined that “uncertainty regarding the amount of

    compensation due under an implied-in-fact contract is not a basis to dismiss the claim. See



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    Eskra v. Provident Life & Accident Ins. Co., supra, 125 F.3d at 1413 (where the existence of

    the implied-in-fact contract is clear, but the terms of compensation are unspecified, a jury is

    empowered to award a reasonable amount of compensation).” Id.

           Here, the evidentiary record will show (when it is time in this case to look at the

    evidentiary record, rather than Complaint allegations to be taken as true) that the patient

    (J.R.F.) requested the services. And the Complaint alleges that services were rendered. See,

    e.g., [D.E. 1] at ¶ 8. It matters not to whom services were rendered for an implied-in-fact

    contract to be formed, it just matters that the Defendant knew of the services, which was the

    case at all times pre-service … as the evidentiary record will show, there was a pre-service

    request here, just as there was in Baycare, and UHC authorized myriad aspects of the subject

    J.R.F. procedure. From that and / or its course of dealings with UHC, SCV reasonably expected

    to be paid by Defendant for the subject medical services and Defendant knew as much. At all

    times post-service, Defendant knew of the services and SCV’s expectation to be properly paid.

    See, e.g., [D.E. 1] at ¶¶ 9 (claim package submitted), 12 (UHC’s tendering of partial payment),

    ¶ 22 (setting forth the bases for SCV’s payment amount expectations), ¶¶ 9, 14-15, 19-21

    (SCV’s myriad letter and appeal requests for Defendant to pay the proper amount). Just as in

    Baycare and several (if not all) of the recent decisions contained in Exhibit 1, SCV has pleaded

    enough in relation to its quantum meruit (implied-in-fact contract) cause of action.

    G.     Plaintiff’s Section 627.64194 Cause Of Action Sufficiently States A Claim

           The M2D argues that SCV’s claim in Count VI fails to state a claim for violation of

    Section 627.64194 of the Florida Statutes for reasons going to pleading deficiencies.

    Specifically, the M2D argues that Count VI should be dismissed because Plaintiff has not



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    pleaded two of the essential elements of that claim in the non-emergency context. In this

    regard, the M2D argues that a claim under Section 627.64194 of the Florida Statutes requires

    that (1) Plaintiff must have provided covered nonemergency services in a facility that has a

    contract for the nonemergency services with the insurer, and (2) Plaintiff provided the

    nonemergency services when the insured did not have the ability or opportunity to choose a

    participating provider at the facility who was available to treat the insured. Contrary to

    Defendant’s argument, this is not how the statute is written and the Complaint clearly pleads

    sufficient facts to entitle SCV to plausible relief under this statutory provision.

            Defendant’s interpretation of Section 627.64194 is a misread of the plain language of

    the statute. As to the insurer, the statute says “[a]n insurer is solely liable for payment of fees

    to a nonparticipating provider of covered nonemergency services provided to an insured in

    accordance with the coverage terms of the health insurance policy.” Fla. Stat. § 627.64194(3).

    That is where the statute stops in relation to the insurer. The statute goes on (in Sections

    627.64194(3)(a)-(b)) to specify that the insured is only obligated to pay the medical provider

    “copayments, coinsurance, and deductibles” when the circumstances of Subsections (3)(a) and

    (3)(b) are present. See id.

            The statute’s language pertaining to the insurer and the insured (which precedes the

    modifiers, subsections (3)(a) and (3)(b)) is disjunctive in that such is separated by a comma

    and the word “and.” If the legislature had intended for subsections (a) and (b) to apply to both

    the insurer and the insured (rather than just the latter), then there would have been no need for

    the comma. Words and punctuation count when it comes to statutory interpretation. A canon

    of statutory construction called the rule of the last antecedent is what undersigned is getting at.



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            In Lockhart v. United States, this statutory language (in pertinent part) was under

    consideration by the United States Supreme Court: “or under the laws of any State relating to

    aggravated sexual abuse, sexual abuse, or abusive sexual conduct involving a minor or ward.”

    See Lockhart v. U.S., 136 S.Ct. 958 (2016). The Supreme Court had to decide whether

    “involving a minor or ward” modified “aggravated sexual abuse” and “sexual abuse” in

    addition to “abusive sexual conduct.” Employing the canon of statutory construction called

    “the rule of the last antecedent,” the Supreme Court decided that “involving a minor or ward”

    only modified “abusive sexual conduct.” Part and parcel with the analysis was this reality –

    had the legislature intended for “involving a minor or ward” to modify all three preceding

    phrases (rather than just the immediate preceding phrase “abusive sexual conduct”), the

    legislature would have put a comma between the words “conduct” and “involving.”9

            Here, the comma situation is reversed. Here, had the legislature wished for subsections

    (a) and (b) to modify preceding statute language concerning the insurer in addition to language

    concerning the insured, the legislature would not have employed a comma in the following

    language: “… health insurance policy, and such insured … .” Common English and syntax

    make clear that the use of a comma followed by the word “and” starts a new thought. Put

    differently, common English and syntax make clear that another way of accomplishing a

    comma followed by the word “and” is to just start a new sentence. When you do not want to

    start a new thought (or a new sentence), you do not put a comma in front of “and.” Here,


    9
      Evidence that a qualifying phrase is supposed to apply to all antecedents instead of only to the immediately
    preceding one may be found in the fact that it is separated from the antecedents by a comma. See, e.g., Finisar
    Corp. v. DirectTV Group, Inc.¸ 523 F.3d 1323, 1336 (U.S. Ct. App. Fed. Cir. 2008) (“when a modifier is set off
    from a series of antecedents by a comma, the modifier should be read to apply to each of those antecedents,”
    internal Second Circuit Court citation omitted).



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    common English and syntax and the rule of the last antecedent make clear that the legislature

    intended to start a new thought by way of its employing “ … , and … .” The legislature’s use

    of punctuation (bolstered by the rule of the last antecedent) make clear that subsections (a) and

    (b) only modify the preceding statute language concerning the insured (not the insurer).

             Here, Section 627.64194 plainly states that UHC is “solely liable for payment of fees

    to a nonparticipating provider of covered nonemergency services provided to an insured in

    accordance with the coverage terms of the health insurance policy.” Id. at Subsection (3). That

    is where the statutory language concerning the insurer stops (given the usage of “… , and …”).

             As it concerns the only Section 627.64194 language relating to the insurer (which,

    again, is not the subsections (a) and (b) language pertaining to only the insured), the Complaint

    contains sufficient averments; i.e., states a claim. All counts of the Complaint and the related

    common allegations are about Defendant’s liability for failure to pay SCV’s medical fees. The

    pre-conditions and / or factors that Defendant contends to be salient refer only to recovery by

    the medical provider from the insured, which the statute defines as the “person who is covered

    under an individual or group health insurance policy….” Fla. Stat. §627.64194(1)(c). In other

    words, what Defendant contends to be essential allegations to meet statutory pre-conditions do

    not apply and are not required to be pleaded by the medical provider. This is made clear by the

    plain statutory language (“ … , and …”) and / or the canon of statutory construction that is the

    rule of the last antecedent.10


    10
       The rule of the last antecedent is not without boundaries. For example, the rule of the last antecedent cannot
    violate commonsense. Here, there is nothing illogical or non-commonsensical to Plaintiff’s statutory
    interpretation. To the contrary, Plaintiff’s interpretation of the subject statute is bolstered by common English and
    syntax – when a comma is followed by the word “and,” it signals the start of a new thought that could have been
    accomplished by the start of a new sentence.



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             Additionally, Section 627.64194(4) specifies the applicable reimbursement rate

    methodology via Section 641.513(5), which such reimbursement rate methodology is also at

    issue in this pure pricing dispute. As alleged in the Complaint, Defendant’s claim

    underpayment payment decision did not adhere to the reimbursement rate methodology

    required by the Florida Statutes in Section 627.64194(4) and (5), which refers to Section

    641.513(5) as the reimbursement methodology required by statute. Simply put, the Complaint

    alleges plausible claims for relief under the statute.

             WHEREFORE, Plaintiff, Surgery Center of Viera, LLC, respectfully requests entry of

    an Order (1) denying Defendant’s M2D [D.E. 19] in its entirety,11 (2) compelling Defendant

    to answer the Complaint posthaste, and (3) awarding SCV any other relief the Court deems

    equitable, just, or proper.12

                                                                   Respectfully Submitted,

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    11
       If the Court somehow sides with Defendant on any of its M2D arguments, SCV respectfully requests
    opportunity to amend the Complaint; i.e., would request that no aspect of any (part or whole) dismissal be with
    prejudice.
    12
      SCV objects to any Defendant request for oral argument. Such is unnecessary. The issues are clear, simple, and
    adequately briefed. Just as in all the similar cases that make up Exhibit 1, this briefing can be fairly and fully
    decided on the papers, thereby preserving the resources of SCV and the Court.



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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on July 29, 2020, I electronically filed the foregoing

    documents with the Clerk of the Court by using CM / ECF. I also certify that the foregoing

    document is being served this day on all counsel of record via transmission of Notices of

    Electronic Filing generated by CM/ECF.

                                                      /s/ Jeffrey L. Greyber
                                                      Jeffrey L. Greyber, Esq.




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